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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                            FORT MYERS DIVISION

S. Y.,

         Plaintiff,

v.                                            Case No.: 2:20-cv-118-JES-MRM

CHOICE HOTELS
INTERNATIONAL, INC. and
ROBERT VOCISANO,

         Defendants.
                                                       /

                                        ORDER

         Pending before the Court is the Joint Motion for Extension of Time as to

Expert Disclosures, in which the parties seek an extension of the case management

expert disclosure deadlines set forth in the Third Amended Case Management and

Scheduling Order. (Doc. 370). The parties assert that this relief is necessary because

the parties have yet to begin taking party depositions. (Id. at 2). For the reasons set

forth below, the motion is GRANTED in part and DENIED in part.

I.       Background

         This action began in the Circuit Court of the Twentieth Judicial Circuit in and

for Collier County, Florida on October 30, 2019, when Plaintiff and another alleged

victim of sex trafficking sued over forty Defendant hotels. See S.Y. v. Naples Hotel Co.,

No. 2:20-cv-00118-JES-MRM, Doc. 1 at 3, (M.D. Fla. Feb. 21, 2020). The case was

removed to this Court on February 21, 2020. Id. On August 5, 2020, the Court
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determined that severing the action was appropriate, see S.Y. v. Naples Hotel Co., 476

F. Supp. 3d 1251, 1256 (M.D. Fla. 2020), and, therefore, Plaintiff filed several

individual cases against various hotel defendants. 1

       On June 10, 2021, the Court extended the case management deadlines and

ordered the parties to prepare a global deposition schedule to depose Plaintiff

sequentially by case number, to the extent possible. See, e.g., S.Y. v. Naples Hotel Co.,

No. 2:20-cv-00118-JES-MRM, Doc. 352 at 5-6, (M.D. Fla. Feb. 21, 2020).

       On September 2, 2021, the Court again extended the case management

deadlines by a period of ninety days, subject to the Court’s trial calendar.

       Subsequently, the parties filed the motion sub judice on October 18, 2021.

II.    Analysis

       The Court finds good cause to enter this Order in each case brought by

Plaintiff S.Y. or Plaintiff C.S. stemming from the first-filed case, S.Y. v. Naples Hotel

Co., No. 2:20-cv-118-JES-MRM – regardless of whether the relief has been requested

– because a common order on discovery procedure will conserve resources and

promote efficiency. Accordingly, the Court directs the Clerk of Court to enter this

Order in each case brought by Plaintiff C.S. or Plaintiff S.Y. regardless of whether

there is a pending Joint Motion for Extension of Time as to Expert Disclosures,

including:


1
  Hereinafter, the Court collectively refers to the twenty-nine cases filed by Plaintiff
S.Y. and Plaintiff C.S., stemming from the first-filed case, S.Y. v. Naples Hotel Co.,
No. 2:20-cv-118-JES-MRM, as the “related cases.”



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      S.Y. v. Uomini & Kudai, LLC, No. 2:20-cv-00602-JES-MRM
      S.Y. v. Seasonal Investments, Inc., No. 2:20-cv-00603-JES-MRM
      S.Y. v. Holistic Health Healing, Inc., No. 2:20-cv-00604-JES-MRM
      S.Y. v. Jay Varahimata Investments, LLC, No. 2:20-cv-00606-JES-MRM
      S.Y. v. Shivparvti, LLC, No. 2:20-cv-00607-JES-MRM
      S.Y. v. Naples Hotel Company et al, No. 2:20-cv-00608-JES-MRM
      S.Y. v. Inn of Naples Hotel, LLC et al, No. 2:20-cv-00609-JES-MRM
      S.Y. v. Naples Garden Inn, LLC, No. 2:20-cv-00610-JES-MRM
      S.Y. v. Sunstream Hotels & Resorts, LLC, No. 2:20-cv-00611-JES-MRM
      S.Y. v. Sea Shell Management, LLC, No. 2:20-cv-00612-JES-MRM
      S.Y. v. Best Western International, Inc., No. 2:20-cv-00616-JES-MRM
      S.Y. v. Wyndham Hotels & Resorts, Inc. et al, No. 2:20-cv-00619-JES-MRM
      S.Y. v. Choice Hotels International, Inc., No. 2:20-v-00622-JES-MRM
      S.Y. v. Holiday Hospitality Franchising, LLC, No. 2:20-cv-00624-JES-MRM
      S.Y. v. Wyndham Hotels & Resorts, Inc., No. 2:20-cv-00626-JES-MRM
      S.Y. v. Marriott International, Inc., No. 2:20-cv-00627-JES-MRM
      S.Y. v. Wyndham Hotels & Resorts, Inc. et al, No. 2:20-cv-00628-JES-MRM
      C.S. v. Inn of Naples Hotel, et al, No. 2:20-cv-00629-JES-MRM
      C.S. v. Holistic Health Healing, Inc., No. 2:20-cv-00630-JES-MRM
      C.S. v. Naples Hotel Company, No. 2:20-cv-00631-JES-MRM
      S.Y. v. Wyndham Hotels & Resorts, Inc. et al, No. 2:20-cv-00632-JES-MRM
      S.Y. v. Wyndham Hotels & Resorts, Inc. et al, No. 2:20-cv-00633-JES-MRM
      C.S. v. Wyndham Hotels & Resorts, Inc., No. 2:20-cv-00634-JES-MRM
      C.S. v. Choice Hotels International, Inc., No. 2:20-cv-00635-JES-MRM
      C.S. v. Wyndham Hotels & Resorts, Inc. et al, No. 2:20-cv-00636-JES-MRM
      C.S. v. Jay Varahimata Investments, LLC, No. 2:20-cv-00637-JES-MRM
      C.S. v. Wyndham Hotels & Resorts, Inc. et al, No. 2:20-cv-00638-JES-MRM
      C.S. v. Wyndham Hotels & Resorts, Inc., No. 2:20-cv-00639-JES-MRM

      In light of the recent resolution on the Motions to Proceed Anonymously and

for Entry of a Protective Order in all twenty-nine cases and the present deadlines for

the parties to disclose expert reports, the Court finds good cause to act sua sponte to

extend all remaining deadlines – beginning with Plaintiff’s disclosure of any expert

reports – by a period of at least sixty (60) days. See Fed. R. Civ. P. 6(b)(1) (“When

an act may or must be done within a specified time, the court may, for good cause,

extend the time . . . with or without motion or notice if the court acts, or if a request



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is made, before the original time or its extension expires.”); see also Watts v. Club

Madonna, Inc., 784 F. App’x 684, 687 (11th Cir. 2019) (citing Fed. R. Civ. P.

6(b)(1)(A) for the proposition that “[a] district court may extend a deadline before the

original deadline has expired if the requesting party demonstrates ‘good cause’”).

         The Clerk of Court is, therefore, directed to prepare and file a Fourth

Amended Case Management and Scheduling Order extending the remaining case

management deadlines by a period of at least sixty (60) days, subject to the Court’s

calendar.

         Additionally, the Court finds good cause to enter this Order and the Fourth

Amended Case Management and Scheduling Order in each related case brought by

Plaintiff S.Y. or Plaintiff C.S., regardless of whether there is a pending motion,

because all of the cases are presently subject to a court order requiring the parties to

establish a global deposition schedule, which will impact the timing of expert and

other discovery. To that end, the Court directs the Clerk of Court to enter this Order

and the Fourth Amended Case Management and Scheduling Order in the following

cases:

         S.Y. v. Uomini & Kudai, LLC, No. 2:20-cv-00602-JES-MRM
         S.Y. v. Seasonal Investments, Inc., No. 2:20-cv-00603-JES-MRM
         S.Y. v. Holistic Health Healing, Inc., No. 2:20-cv-00604-JES-MRM
         S.Y. v. Jay Varahimata Investments, LLC, No. 2:20-cv-00606-JES-MRM
         S.Y. v. Shivparvti, LLC, No. 2:20-cv-00607-JES-MRM
         S.Y. v. Naples Hotel Company et al, No. 2:20-cv-00608-JES-MRM
         S.Y. v. Inn of Naples Hotel, LLC et al, No. 2:20-cv-00609-JES-MRM
         S.Y. v. Naples Garden Inn, LLC, No. 2:20-cv-00610-JES-MRM
         S.Y. v. Sunstream Hotels & Resorts, LLC, No. 2:20-cv-00611-JES-MRM
         S.Y. v. Sea Shell Management, LLC, No. 2:20-cv-00612-JES-MRM



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      S.Y. v. Best Western International, Inc., No. 2:20-cv-00616-JES-MRM
      S.Y. v. Wyndham Hotels & Resorts, Inc. et al, No. 2:20-cv-00619-JES-MRM
      S.Y. v. Choice Hotels International, Inc., No. 2:20-v-00622-JES-MRM
      S.Y. v. Holiday Hospitality Franchising, LLC, No. 2:20-cv-00624-JES-MRM
      S.Y. v. Wyndham Hotels & Resorts, Inc., No. 2:20-cv-00626-JES-MRM
      S.Y. v. Marriott International, Inc., No. 2:20-cv-00627-JES-MRM
      S.Y. v. Wyndham Hotels & Resorts, Inc. et al, No. 2:20-cv-00628-JES-MRM
      C.S. v. Inn of Naples Hotel, et al, No. 2:20-cv-00629-JES-MRM
      C.S. v. Holistic Health Healing, Inc., No. 2:20-cv-00630-JES-MRM
      C.S. v. Naples Hotel Company, No. 2:20-cv-00631-JES-MRM
      S.Y. v. Wyndham Hotels & Resorts, Inc. et al, No. 2:20-cv-00632-JES-MRM
      S.Y. v. Wyndham Hotels & Resorts, Inc. et al, No. 2:20-cv-00633-JES-MRM
      C.S. v. Wyndham Hotels & Resorts, Inc., No. 2:20-cv-00634-JES-MRM
      C.S. v. Choice Hotels International, Inc., No. 2:20-cv-00635-JES-MRM
      C.S. v. Wyndham Hotels & Resorts, Inc. et al, No. 2:20-cv-00636-JES-MRM
      C.S. v. Jay Varahimata Investments, LLC, No. 2:20-cv-00637-JES-MRM
      C.S. v. Wyndham Hotels & Resorts, Inc. et al, No. 2:20-cv-00638-JES-MRM
      C.S. v. Wyndham Hotels & Resorts, Inc., No. 2:20-cv-00639-JES-MRM

                                 CONCLUSION

      The Court ORDERS that:

      1.    The Joint Motion for Extension of Time as to Expert Disclosures (Doc.

            370) is GRANTED in part and DENIED in part.

      2.    The parties’ motion is GRANTED to the extent that it seeks a sixty (60)

            day extension of the remaining case management deadlines.

      3.    The parties’ motion is DENIED to the extent that it seeks any

            additional relief.

      4.    The parties in all of the related cases are warned that the Court is not

            inclined to grant a further extension of any case management

            deadlines absent a showing of genuine necessity.




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      5.    The Clerk of Court is directed to prepare and file a Fourth Amended

            Case Management and Scheduling Order extending the remaining case

            management deadlines by a period of at least sixty (60) days, subject to

            the Court’s calendar.

      6.    The Clerk of Court is directed to enter this Order and the subsequent

            Fourth Amended Case Management and Scheduling Order in each case

            brought by Plaintiff C.S. or Plaintiff S.Y., regardless of whether there is

            a pending motion, as listed above.

      DONE and ORDERED in Fort Myers, Florida on October 21, 2021.




Copies furnished to:

Counsel of Record
Unrepresented Parties




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